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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


NATALIE JOHNSON,

                            Plaintiff,                                          ORDER
      v.
                                                                            19-cv-760-wmc
C.R. BARD INC. and
BARD PERIPHERAL VASCULAR INC.,

                            Defendants.




      Before the court is the parties’ request for ruling on objections to certain deposition

designations as to Natalie Wong.


 DEPON-        PL AFFIRM      DEF OBJECTIONS                 PL RESPONSE TO             COURT
 ENT                                                         OBJECTIONS                 RULING

                              Bard objects to Plaintiff’s
                              references to “Admitted
                              in the Peterson case” as a
                              basis for allowing a
                              designation to played, or
                              overruling an objection,
                              and submits that the
                              testimony should be
                              consider based on the
                              facts and applicable law
                              and rulings in this case.
                              The Peterson case
                              involved a different filter,
                              different claims, and was
                              decided under different
                              state law.

 Wong,         8:10-8:12                                     Admitted in Peterson
 Natalie       beginning
 10/18/2016    with "Will
               you…"


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Wong,        10:03-10:06                      Admitted in Peterson
Natalie
10/18/2016

Wong,        13:06-13:08                      Admitted in Peterson
Natalie
10/18/2016

Wong,        17:10-17:12                      Admitted in Peterson
Natalie
10/18/2016

Wong,        29:13-29:16                      Admitted in Peterson
Natalie      beginning
10/18/2016   with "what's
             the goal…"

Wong,        30:10-30:19                      Admitted in Peterson
Natalie      beginning
10/18/2016   with "Is…"

Wong,        31:04-31:11                      Admitted in Peterson
Natalie
10/18/2016

Wong,        31:16-31:22                      Admitted in Peterson
Natalie      beginning
10/18/2016   with "When
             would
             you…"

Wong,        32:13-32:19                      Admitted in Peterson
Natalie      beginning
10/18/2016   with "why
             does Bard…"

Wong,        32:23-33:04                      Admitted in Peterson
Natalie
10/18/2016

Wong,        33:07-33:20                      Admitted in Peterson
Natalie
10/18/2016




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Wong,        40:07-40:13                                Admitted in Peterson
Natalie
10/18/2016

Wong,        43:14-44:01                                Admitted in Peterson
Natalie      beginning
10/18/2016   with "why is
             it…"

Wong,        44:05-44:25                                Admitted in Peterson
Natalie
10/18/2016

Wong,        47:06-47:23                                Admitted in Peterson
Natalie      beginning
10/18/2016   with "when
             Bard's…"

Wong,        50:01-50:23                                Admitted in Peterson
Natalie      beginning
10/18/2016   with "that
             data…"

Wong,        52:10-52:18                                Admitted in Peterson
Natalie      beginning
10/18/2016   with "the
             adverse
             event…"

Wong,        58:11-58:14                                Admitted in Peterson
Natalie
10/18/2016

Wong,        59:10-59:25                                Admitted in Peterson
Natalie
10/18/2016

Wong,        102:10-        Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      103:03         Testimony does not          All Bard filters are relevant
10/18/2016                  involve filter at issue     to show the design defect of
                            and/or failure modes at     the Meridian and Bard's
                            issue; Irrelevant and any   failure to warn the medical
                            probative value             community of the dangers
                            outweighed by prejudicial   of their filters.
                            effect.




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Wong,        103:09-     Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      103:19      Testimony does not            All Bard filters are relevant
10/18/2016               involve filter at issue       to show the design defect of
                         and/or failure modes at       the Meridian and Bard's
                         issue; Irrelevant and any     failure to warn the medical
                         probative value               community of the dangers
                         outweighed by prejudicial     of their filters. That is not
                         effect. Also, this violates   what Judge Campbell's
                         the MDL Court's ruling        ruling said. Judge
                         on a motion for protective    Campbell's ruling excluded
                         order finding that the        very specific information
                         hiring of the consultant      and did not exclude the
                         and his report are            reference to Bard hiring
                         protected work product.       consultants by name or
                                                       otherwise. The order also
                                                       did not exclude the
                                                       information contained in
                                                       the report becuase it can be
                                                       found elsewhere such as the
                                                       Dec 2004 HHE.

Wong,        104:19-     Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      105:24      Testimony does not            All Bard filters are relevant
10/18/2016               involve filter at issue       to show the design defect of
                         and/or failure modes at       the Meridian and Bard's
                         issue; Irrelevant and any     failure to warn the medical
                         probative value               community of the dangers
                         outweighed by prejudicial     of their filters.
                         effect.

Wong,        109:24-     Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      110:09      Testimony does not            All Bard filters are relevant
10/18/2016               involve filter at issue       to show the design defect of
                         and/or failure modes at       the Meridian and Bard's
                         issue; Irrelevant and any     failure to warn the medical
                         probative value               community of the dangers
                         outweighed by prejudicial     of their filters.
                         effect.

Wong,        110:14-     Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      110:20      Testimony does not            All Bard filters are relevant
10/18/2016   beginning   involve filter at issue       to show the design defect of
                         and/or failure modes at       the Meridian and Bard's
             with "it
                         issue; Irrelevant and any     failure to warn the medical
             says…"
                         probative value               community of the dangers
                         outweighed by prejudicial     of their filters.
                         effect.



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Wong,        112:13-         Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      112:22          Testimony does not          All Bard filters are relevant
10/18/2016                   involve filter at issue     to show the design defect of
                             and/or failure modes at     the Meridian and Bard's
                             issue; Irrelevant and any   failure to warn the medical
                             probative value             community of the dangers
                             outweighed by prejudicial   of their filters.
                             effect.

Wong,        114:10-         Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      114:13          Testimony does not          All Bard filters are relevant
10/18/2016   beginning       involve filter at issue     to show the design defect of
                             and/or failure modes at     the Meridian and Bard's
             with "is it
                             issue; Irrelevant and any   failure to warn the medical
             consistent…"
                             probative value             community of the dangers
                             outweighed by prejudicial   of their filters.
                             effect.

Wong,        116:02-         Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      116:11          Testimony does not          All Bard filters are relevant
10/18/2016   beginning       involve filter at issue     to show the design defect of
                             and/or failure modes at     the Meridian and Bard's
             with "this is
                             issue; Irrelevant and any   failure to warn the medical
             being…"
                             probative value             community of the dangers
                             outweighed by prejudicial   of their filters.
                             effect.

Wong,        120:04-         Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      120:10          Testimony does not          All Bard filters are relevant
10/18/2016   beginning       involve filter at issue     to show the design defect of
                             and/or failure modes at     the Meridian and Bard's
             with "was it
                             issue; Irrelevant and any   failure to warn the medical
             ever…"
                             probative value             community of the dangers
                             outweighed by prejudicial   of their filters. Ms. Wong's
                             effect. Rules 401, 402,     job is the delepoment of
                             and 403 – testimony         products at Bard. An
                             concerns what physician     essential function of her job
                             would have wanted to        is know what the customers
                             know / would expect a       (physicians) want or need.
                             manufacturer to tell
                             him/her.

Wong,        122:09-         Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      122:22          Testimony does not          All Bard filters are relevant
10/18/2016                   involve filter at issue     to show the design defect of
                             and/or failure modes at     the Meridian and Bard's
                             issue; Irrelevant and any   failure to warn the medical
                             probative value


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                        outweighed by prejudicial   community of the dangers
                        effect.                     of their filters.


Wong,        123:01-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      123:12     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        125:17-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      125:24     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        126:03-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      126:24     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters. Ms. Wong's
                        effect. Rules 401, 402,     job is the delevopment of
                        and 403 – testimony         products at Bard. An
                        concerns what physician     essential function of her job
                        would have wanted to        is know what the customers
                        know / would expect a       (physicians) want or need.
                        manufacturer to tell
                        him/her.

Wong,        130:09-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      130:12     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.




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Wong,        130:17-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      130:18       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        131:19-      Rules 401, 402, 403 –       Admitted in Peterson            OVERRULED
Natalie      131:22       Testimony does not          All Bard filters are relevant
10/18/2016   beginning    involve filter at issue     to show the design defect of
                          and/or failure mode at      the Meridian and Bard's
             with Based
                          issue; Irrelevant and any   failure to warn the medical
             on this…
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters. Bard has
                          effect. Judge Campbell      materially misrepresented
                          sustanined this objection   the MDL Court's Order.
                          in the MDL. Dkt. 12590,     The ruling on Ms. Wong's
                          page 4                      testimony is on page 8 of
                                                      the Order and the MDL
                                                      Court did not rule on
                                                      testimony from page 131.

Wong,        141:17-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      142:09       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        142:17-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      143:12       Testimony does not          All Bard filters are relevant
10/18/2016   begin with   involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
             look at)
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        143:17-                                  Testimony admitted at
Natalie      143:22                                   Bard's request in Peterson
10/18/2016




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Wong,        145:19-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      146:04     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        146:08-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      146:20     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        146:22-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      146:23     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        148:06-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      148:10     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        148:12     Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie                 Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters. There is a
                        effect.                     claim of migration in this
                                                    case.




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Wong,        150:11-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      150:24       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        151:19-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      152:17       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters. There is a
                          effect.                     claim of migration in this
                                                      case.

Wong,        152:19-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      153:02       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        153:10-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      153:17       Testimony does not          All Bard filters are relevant
10/18/2016   begin with   involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
             And
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        154:08-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      154:18       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters. There is a
                          effect.                     claim of migration in this
                                                      case.




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Wong,        154:25-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      155:14     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters. Ms. Wong's
                        effect. Rules 401, 402,     job is the delepoment of
                        and 403 – testimony         products at Bard. An
                        concerns what physician     essential function of her job
                        would have wanted to        is know what the customers
                        know / would expect a       (physicians) want or need.
                        manufacturer to tell
                        him/her.

Wong,        155:20-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      155:25     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters. There is a
                        effect                      claim of migration in this
                                                    case.

Wong,        157:06-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      157:15     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's
                        issue; Irrelevant and any   failure to warn the medical
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters. There is a
                        effect.                     claim of migration in this
                                                    case.

Wong,        157:22-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      159:04     Testimony does not          All Bard filters are relevant   except
10/18/2016              involve filter at issue     to show the design defect of    STRIKE lines
                        and/or failure modes at     the Meridian and Bard's
                                                                                    158:20-
                        issue; Irrelevant and any   failure to warn the medical
                                                                                    158:25.
                        probative value             community of the dangers
                        outweighed by prejudicial   of their filters.
                        effect.

Wong,        170:06-    Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      170:23     Testimony does not          All Bard filters are relevant
10/18/2016              involve filter at issue     to show the design defect of
                        and/or failure modes at     the Meridian and Bard's


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                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        171:07-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      171:22        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        172:06-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      172:21        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters. There is a
                           effect.                     claim of migration in this
                                                       case.

Wong,        175:15-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      175:25        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        182:18-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      183:14        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        187:20:188:   Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      04            Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value


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                           outweighed by prejudicial     community of the dangers
                           effect.                       of their filters.


Wong,        213:13-       Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      214:10        Testimony does not            All Bard filters are relevant
10/18/2016                 involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's
                           issue; Irrelevant and any     failure to warn the medical
                           probative value               community of the dangers
                           outweighed by prejudicial     of their filters.
                           effect.

Wong,        265:09-       Rules 401, 402, 403 –         Admitted in Peterson            OVERRULED
Natalie      265:18        Testimony does not            All Bard filters are relevant
10/18/2016   End at        involve filter at issue       to show the design defect of
                           and/or failure mode at        the Meridian, Bard's
             "reporting"
                           issue; Irrelevant and any     negligence and the failure to
                           probative value               warn. The Plaintff will
                           outweighed by prejudicial     redact "their deaths" as
                           effect. This case does not    indicated.
                           involve a fatal migration
                           or a Recovery Filter. This
                           testimony is overly
                           prejudicial and has no
                           bearing on the facts of
                           this case. The Court has
                           ruled this testimony is not
                           substantially similar to
                           the facts in this case and,
                           therefore, should be
                           excluded. (See ECF No.
                           204, p. 3-5.)

Wong,        265:19-       Rules 401, 402, 403 –         Admitted in Peterson            SUSTAIN as
Natalie      265:21        Testimony does not            All Bard filters are relevant   to “the
10/18/2016                 involve filter at issue       to show the design defect of    deaths”
                           and/or failure mode at        the Meridian, Bard's
                                                                                         referenced on
                           issue; Irrelevant and any     negligence and the failure to
                                                                                         265:18.
                           probative value               warn. The Plaintff will
                                                                                         Otherwise
                           outweighed by prejudicial     redact "their deaths" as
                           effect. This case does not    indicated.                      OVERRULED
                           involve a fatal migration
                           or a Recovery Filter. This
                           testimony is overly
                           prejudicial and has no
                           bearing on the facts of


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                           this case. The Court has
                           ruled this testimony is not
                           substantially similar to
                           the facts in this case and,
                           therefore, should be
                           excluded. (See ECF No.
                           204, p. 3-5.)

Wong,        273:20        Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie                    Testimony does not            All Bard filters are relevant
10/18/2016                 involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's
                           issue; Irrelevant and any     failure to warn the medical
                           probative value               community of the dangers
                           outweighed by prejudicial     of their filters.
                           effect.

Wong,        273:24-       Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      274:01        Testimony does not            All Bard filters are relevant
10/18/2016   beginning     involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's
             with It's a
                           issue; Irrelevant and any     failure to warn the medical
             memorandu
                           probative value               community of the dangers
             m…
                           outweighed by prejudicial     of their filters.
                           effect.

Wong,        274:20-       Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      274:23        Testimony does not            All Bard filters are relevant
10/18/2016                 involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's
                           issue; Irrelevant and any     failure to warn the medical
                           probative value               community of the dangers
                           outweighed by prejudicial     of their filters.
                           effect.

Wong,        276:23-       Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      277:01        Testimony does not            All Bard filters are relevant
10/18/2016                 involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's
                           issue; Irrelevant and any     failure to warn the medical
                           probative value               community of the dangers
                           outweighed by prejudicial     of their filters.
                           effect.

Wong,        277:04-       Rules 401, 402, 403.          Admitted in Peterson            OVERRULED
Natalie      277:16        Testimony does not            All Bard filters are relevant
10/18/2016                 involve filter at issue       to show the design defect of
                           and/or failure modes at       the Meridian and Bard's


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                         issue; Irrelevant and any   failure to warn the medical
                         probative value             community of the dangers
                         outweighed by prejudicial   of their filters.
                         effect.

Wong,        278:18-     Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      278:23      Testimony does not          All Bard filters are relevant
10/18/2016   beginning   involve filter at issue     to show the design defect of
                         and/or failure modes at     the Meridian and Bard's
             with And
                         issue; Irrelevant and any   failure to warn the medical
             then…
                         probative value             community of the dangers
                         outweighed by prejudicial   of their filters. Ms. Wong's
                         effect. Rules 401, 402,     job is the delepoment of
                         and 403 – testimony         products at Bard. An
                         concerns what physician     essential function of her job
                         would have wanted to        is know what the customers
                         know / would expect a       (physicians) want or need.
                         manufacturer to tell
                         him/her.

Wong,        278:25      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie                  Testimony does not          All Bard filters are relevant
10/18/2016               involve filter at issue     to show the design defect of
                         and/or failure modes at     the Meridian and Bard's
                         issue; Irrelevant and any   failure to warn the medical
                         probative value             community of the dangers
                         outweighed by prejudicial   of their filters. Ms. Wong's
                         effect. Rules 401, 402,     job is the delepoment of
                         and 403 – testimony         products at Bard. An
                         concerns what physician     essential function of her job
                         would have wanted to        is know what the customers
                         know / would expect a       (physicians) want or need.
                         manufacturer to tell
                         him/her.

Wong,        279:03-     Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      279:14      Testimony does not          All Bard filters are relevant
10/18/2016               involve filter at issue     to show the design defect of
                         and/or failure modes at     the Meridian and Bard's
                         issue; Irrelevant and any   failure to warn the medical
                         probative value             community of the dangers
                         outweighed by prejudicial   of their filters. Ms. Wong's
                         effect. Rules 401, 402,     job is the delepoment of
                         and 403 – testimony         products at Bard. An
                         concerns what physician     essential function of her job
                         would have wanted to        is know what the customers
                         know / would expect a       (physicians) want or need.



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                           manufacturer to tell
                           him/her.



Wong,        283:12        Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie                    Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        283:19-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      283:22        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        284:06-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      284:12        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        284:18-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      285:08        Testimony does not          All Bard filters are relevant
10/18/2016                 involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                           outweighed by prejudicial   of their filters.
                           effect.

Wong,        285:13-       Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      286:03        Testimony does not          All Bard filters are relevant
10/18/2016   Starting at   involve filter at issue     to show the design defect of
                           and/or failure modes at     the Meridian and Bard's
             "this"
                           issue; Irrelevant and any   failure to warn the medical
                           probative value             community of the dangers
                                                       of their filters.



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                          outweighed by prejudicial
                          effect.


Wong,        286:12-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      286:23       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        287:20-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      288:01       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        288:09-      Rules 401, 402, 403.        Admitted in Peterson            OVERRULED
Natalie      288:12       Testimony does not          All Bard filters are relevant
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure modes at     the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters.
                          effect.

Wong,        288:15-      (288:19 - 288:24) Rules     Admitted in Peterson            OVERRULED
Natalie      288:24       401, 402, 403 –             All Bard filters are relevant
10/18/2016   beginning    Testimony does not          to show the design defect of
                          involve filter at issue     the Meridian and Bard's
             with "are
                          and/or failure mode at      failure to warn the medical
             you the.."
                          issue; Irrelevant and any   community of the dangers
                          probative value             of their filters.
                          outweighed by prejudicial
                          effect.

Wong,        289:21-      Rules 401, 402, 403 –       Admitted in Peterson            SUSTAIN as
Natalie      289:23       Testimony does not          All Bard filters are relevant   cumulative
10/18/2016                involve filter at issue     to show the design defect of
                          and/or failure mode at      the Meridian and Bard's
                          issue; Irrelevant and any   failure to warn the medical
                          probative value             community of the dangers
                          outweighed by prejudicial   of their filters. Defendants


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                           effect. Rule 611,           have not identified to what
                           cumulative testimony.       testimony this designation
                           Judge Campbell sustained    is cummulative.
                           cumulative. Doc 10403,
                           p.4 A.55-56.



DEPON-       DEF           PL OBJECTIONS               DEF RESPONSE TO                  COURT
ENT          COUNTER                                   OBJECTIONS                       RULING

Wong,        13:09-13:24   FRE 106 only requires       This testimony is necessary      OVERRULED
Natalie                    completeness that "in       to provide a complete
10/18/2016   For           fairness ought to be        picture of the witness'
                           considered at the same      background, place Plaintiff's
             Completenes
                           time". Defendants have      selective designation of lines
             s
                           not demostrated why this    of questioning in proper
                           testimony, in the name of   context, and/or demonstrate
                           fairness, must be           the Plaintiff is attempting
                           considered at the same      to elicit testimony from a
                           time as Plaintiff's         witness about a subject or
                           designation.                document with which that
                                                       witness has no or limited
                                                       personal knowledge.

Wong,        18:01-18:03   FRE 106 only requires       This testimony is necessary      OVERRULED
Natalie                    completeness that "in       to provide a complete
10/18/2016   For           fairness ought to be        picture of the witness'
                           considered at the same      background, place Plaintiff's
             Completenes
                           time". Defendants have      selective designation of lines
             s
                           not demostrated why this    of questioning in proper
                           testimony, in the name of   context, and/or demonstrate
                           fairness, must be           the Plaintiff is attempting
                           considered at the same      to elicit testimony from a
                           time as Plaintiff's         witness about a subject or
                           designation.                document with which that
                                                       witness has no or limited
                                                       personal knowledge.

Wong,        31:12-31:15   FRE 106 only requires       This testimony is necessary      OVERRULED
Natalie                    completeness that "in       to provide a complete
10/18/2016   For           fairness ought to be        picture of the witness'
                           considered at the same      background, place Plaintiff's
             Completenes
                           time". Defendants have      selective designation of lines
             s
                           not demostrated why this    of questioning in proper
                           testimony, in the name of   context, and/or demonstrate
                           fairness, must be           the Plaintiff is attempting
                           considered at the same      to elicit testimony from a


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                           time as Plaintiff's          witness about a subject or
                           designation.                 document with which that
                                                        witness has no or limited
                                                        personal knowledge.

Wong,        40:14-40:16   FRE 106 only requires        This testimony is necessary      OVERRULED
Natalie                    completeness that "in        to provide a complete
10/18/2016   For           fairness ought to be         picture of the witness'
                           considered at the same       background, place Plaintiff's
             Completenes
                           time". Defendants have       selective designation of lines
             s
                           not demostrated why this     of questioning in proper
                           testimony, in the name of    context, and/or demonstrate
                           fairness, must be            the Plaintiff is attempting
                           considered at the same       to elicit testimony from a
                           time as Plaintiff's          witness about a subject or
                           designation.                 document with which that
                                                        witness has no or limited
                                                        personal knowledge.

Wong,        44:01-44:13   44:02-44:04 - Defedants      44:02-44:04 was designated       SUSTAIN as
Natalie                    are attempting to            in error, and Bard will          to 44:02-
10/18/2016   For           designate a partial          withdraw it. The remainder       44:04, which
                           question that was clearly    of the testimony is
             Completenes                                                                 is to be
                           struck by the offereing      necessary to place Plaintiff's
             s                                                                           excluded.
                           attorney and a self-         selective designation of lines
                                                                                         MOOT as to
                           depricating sidebar that     of questioning in proper
                           has no relation to this      context, and/or demonstrate      remainder,
                           case. FRE 106 only           the Plaintiff is attempting      which is
                           requires completeness        to elicit testimony from a       included in
                           that "in fairness ought to   witness about a subject or       plaintiff’s
                           be considered at the same    document with which that         designation.
                           time". Defendants have       witness has no or limited
                           not demostrated why this     personal knowledge.
                           testimony, in the name of
                           fairness, must be
                           considered at the same
                           time as Plaintiff's
                           designation.

Wong,        58:15-59:01   FRE 106 only requires        This testimony is necessary      OVERRULED
Natalie                    completeness that "in        to provide a complete
10/18/2016   For           fairness ought to be         picture of the witness'
                           considered at the same       background, place Plaintiff's
             Completenes
                           time". Defendants have       selective designation of lines
             s
                           not demostrated why this     of questioning in proper
                           testimony, in the name of    context, and/or demonstrate
                           fairness, must be            the Plaintiff is attempting
                           considered at the same       to elicit testimony from a

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                             time as Plaintiff's         witness about a subject or
                             designation.                document with which that
                                                         witness has no or limited
                                                         personal knowledge.

Wong,        143:17-         FRE 106 only requires       This testimony is necessary      OVERRULED
Natalie      143:22          completeness that "in       to provide a complete
10/18/2016                   fairness ought to be        picture of the witness'
                             considered at the same      background, place Plaintiff's
             For
                             time". Defendants have      selective designation of lines
             Completenes
                             not demostrated why this    of questioning in proper
             s
                             testimony, in the name of   context, and/or demonstrate
                             fairness, must be           the Plaintiff is attempting
                             considered at the same      to elicit testimony from a
                             time as Plaintiff's         witness about a subject or
                             designation.                document with which that
                                                         witness has no or limited
                                                         personal knowledge.

Wong,        147:05-         Non-responsive answer.      The answer was related to        OVERRULED
Natalie      147:09          The answer was unrelated    the question asked, and
10/18/2016   For             to the question asked.      goes to the reality that
                             FRE 106 only requires       comparisons of
             completenes
                             completeness that "in       complication rates between
             s
                             fairness ought to be        permanent filters and
             subject to
                             considered at the same      retrievable filters are
             objection       time". Defendants have      impossible due to the
                             not demostrated why this    inherent differences
                             testimony, in the name of   between those two devices
                             fairness, must be           and their uses. This
                             considered at the same      testimony is necessary to
                             time as Plaintiff's         provide a complete picture
                             designation.                of the witness' background,
                                                         place Plaintiff's selective
                                                         designation of lines of
                                                         questioning in proper
                                                         context.

Wong,        163:23-
Natalie      164:01
10/18/2016   start at "it"

Wong,        164:06-
Natalie      164:07
10/18/2016   stop at first
             instance of
             "don't"


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Wong,        164:07-
Natalie      164:08
10/18/2016   starting at
             "if"

Wong,        164:19-
Natalie      164:23
10/18/2016

Wong,        168:22-
Natalie      168:24
10/18/2016

Wong,        169:01
Natalie
10/18/2016

Wong,        173:01-       Non-responsive answer.      The answer was related to       OVERRULED
Natalie      173:07        The answer was unrelated    the question asked.
10/18/2016                 to the question asked.      Plaintiff's counsel and the
                           FRE 106 only requires       witness were discussing a
             For
                           completeness that "in       document and the witness
             Completenes
                           fairness ought to be        is responding to the
             s
                           considered at the same      question in the context of
                           time". Defendants have      that document. This
                           not demostrated why this    testimony is necessary to
                           testimony, in the name of   provide a complete picture
                           fairness, must be           of the witness' background,
                           considered at the same      place Plaintiff's selective
                           time as Plaintiff's         designation of lines of
                           designation.                questioning in proper
                                                       context.

Wong,        177:15-       Non-responsive answer.      The answer is related to the    SUSTAIN
Natalie      177:16        The answer was unrelated    question. As frequently
10/18/2016                 to the question asked.      occurs in depositions in this
                           FRE 106 only requires       litigation, Plaintiff was
             For
                           completeness that "in       attempting to read a
             Completenes
                           fairness ought to be        document to the witness
             s
                           considered at the same      and have her validate his
                           time". Defendants have      reading of the document.
                           not demostrated why this    This testimony is necessary
                           testimony, in the name of   to show that the preceding
                           fairness, must be           designations by Plaintiff,
                           considered at the same      should they survive Bard's
                                                       objections, consist of
                                                       Plaintiff's counsel


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                            time as Plaintiff's          questioning the witness
                            designation.                 about matters about which
                                                         she is unfamiliar.




 Wong,        177:18-       Non-responsive answer.       The answer is related to the    SUSTAIN
 Natalie      177:19        The answer was unrelated     question. As frequently
 10/18/2016   For           to the question asked.       occurs in depositions in this
                            FRE 106 only requires        litigation, Plaintiff was
              Completenes
                            completeness that "in        attempting to read a
              s
                            fairness ought to be         document to the witness
                            considered at the same       and have her validate his
                            time". Defendants have       reading of the document.
                            not demostrated why this     This testimony is necessary
                            testimony, in the name of    to show that the preceding
                            fairness, must be            designations by Plaintiff,
                            considered at the same       should they survive Bard's
                            time as Plaintiff's          objections, consist of
                            designation.                 Plaintiff's counsel
                                                         questioning the witness
                                                         about matters about which
                                                         she is unfamiliar.



      Accordingly, IT IS ORDERED that the parties’ request for rulings on objections to certain

designations is GRANTED, and the objections are sustained in part and overruled in part as

provided above.

      Entered this 5th day of June, 2021.

                                                  BY THE COURT:

                                                  /s/
                                                  __________________________________
                                                  WILLIAM M. CONLEY
                                                  District Judge




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